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                                   UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF OKLAHOMA



              In re                                   )
                                                      )   Case No. 18-12957-JDL
              DWIGHT GEORGE SULC,                     )
                                                      )   Chapter 13
                               Plaintiff.             )
                                                      )   Adversary Case No: 18-01093
                                                      )
                   1. DITECH FINANCIAL LLC            )
                                                      )
                   2. OCWEN LOAN SERVICING,           )
                      L.L.C.                          )
                                                      )
                   3. SHELLPOINT MORTGAGE             )
                      SERVICING, LLC                  )
                                                      )
                   4. BAYVIEW LOAN                    )
                      SERVICING, LLC                  )
                                                      )
                   5. THE BANK OF NEW YORK            )
                      MELLON FKA THE BANK OF          )
                      NEW YORK MELLON, AS             )
                      TRUSTEE (CWALT 05-              )
                      00003CB)                        )
                                                      )
                                                      )
                   6. HSBC BANK USA,                  )
                      NATIONAL ASSOCIATION,           )
                      AS TRUSTEE FOR THE              )
                      DEUTSCHE ALT-A                  )
                      SECURITIES, INC.,               )
                      MORTGAGELOAN TRUST,             )
                      MORTGAGE PASS-                  )
                      THROUGH CERTIFICATES,           )
                      SERIES 05-00004 Bank USA,       )
                                                      )
                   7. MTGLQ INVESTORS LP


                ANSWER OF DEFENDANT DITECH FINANCIAL LLC TO THE FIRST AMENDED
                       COMPLAINT TO DETERMINE THE EXTENT AND VALIDITY OF LIENS ON
                  DEBTOR’S REAL PROPERTY, FOR QUIET TITLE, AND FOR DECLARATORY
                                                      RELIEF


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                       Comes now, the secured creditor, Defendant DITECH FINANCIAL LLC, (hereinafter
              referred to as “DT”), by their attorney, THE MORTGAGE LAW FIRM, PLLC, and for their
              Answer to Plaintiff’s First Amended Complaint to Determine the Extent and Validity of Liens on
              Debtor’s Real Property, for Quiet Title, and for Declaratory Relief by the Debtor on October 15,
              2018 (hereinafter referred to as “Complaint”) states as follows:
                       All allegations not expressly admitted, denied, or otherwise pled below are hereby
              construed as denied.
                                                               ANSWER
                   1. DT admits paragraphs 1, 2, 3, 4, 15, 21, and 23.
                   2. DT denies paragraph 29 and specifically the allegations incorporated therein from
                       paragraphs 24 and 25 as relevant to DT.
                   3. DT is without sufficient information to admit or deny paragraphs 5, 6, 7, 8, 10, 11, 13,
                       14, 16, 18, 19, 20, 24, 25, 27, and 28; therefore, they are denied.
                   4. As to paragraph 9, DT admits that it is a creditor of Plaintiff that asserts a lien upon
                       Plaintiff’s real property. However, DT is without sufficient information to admit or deny
                       the remaining allegations in paragraph 9.
                   5. To the extent paragraphs 12, 17, 22 and 26 recapitulate and incorporate previous
                       paragraphs of the Complaint, DT incorporate the appropriate response(s) to the respective
                       numerical paragraphs as set forth above.
                                       DEFENSES AND AFFIRMATIVE DEFENSES
                       By way of further answer, and without intending to shift the burden of proof at trial, DT
                       asserts the following defenses and affirmative defenses:
                   1. No Right to Relief. DT denies that Plaintiff is entitled to any or all of the relief sought in
                       Plaintiff’s Prayer for Relief. DT is an oversecured creditor as it relates to the real property
                       located at 1532 NW 30th, Oklahoma City, OK 73118.
                   2. Failure to State a Claim. Plaintiff has failed to state a claim against DT for which relief
                       may be granted, and therefore the lawsuit should be dismissed.
                   3. Estoppel. Plaintiff is estopped to raise the alleged claims as a result of his acts and/or
                       omissions.
                   4. Good Faith. At all times relevant to the Complaint, DT has acted in good faith and its
                       actions were otherwise justified.
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                   5. Laches. The relief sought by Plaintiff is barred by the doctrine of laches.
                   6. Reservation of Rights. DT presently has insufficient knowledge or information upon
                       which to form a belief as to whether it may have additional, as yet unstated, affirmative
                       defenses and hereby reserves the right to assert additional affirmative defenses in the
                       event discovery indicates it is appropriate.
                                                    REQUEST FOR RELIEF
                       Having fully answered the Complaint, DT asks the Court for the following relief:
                   1. For judgment in favor of DT, and against Plaintiff, providing that Plaintiff recovers
                       nothing on account of the claims made in the Complaint, and dismissing each and every
                       such claim with prejudice;
                   2. For award of DT’s s reasonable attorneys’ fees and costs to the extent permitted by
                       contract and/or law;
                   3. For leave to amend DT’s pleadings freely to conform to proof obtained during discovery
                       or presented at trial; and
                   4. For such other and further relief as this Court may deem just and proper


                                                                      Respectfully submitted,

              Dated: November 2, 2018                                 THE MORTGAGE LAW FIRM, PLLC

                                                                      /s/ Sally E. Garrison
                                                                      Sally E. Garrison, OBA # 18709
                                                                      Shane M. Riddles-Hill, OBA # 32013
                                                                      THE MORTGAGE LAW FIRM, PLLC
                                                                      101 Park Avenue, Suite 1300
                                                                      Oklahoma City, OK 73012
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                                                                      Attorneys for DITECH FINANCIAL LLC




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                                               CERTIFICATE OF SERVICE

              This is to certify that I did, on this November 2, 2018, mail, via first class U.S. mail, a true and
              correct copy of the above and foregoing to:
              Debtor                                               Attorney for co-defendants MTGLQ
              Dwight George Sulc                                   Investors LP and Shellpoint Mortgage
              3321 N. Virginia Ave.                                Servicing, LLC
              Oklahoma City, OK 73118                              Matthew J. Hudspeth
                                                                   Baer and Timberlake PC
                                                                   4200 Perimeter Center Drive, Suite 100
                                                                   Oklahoma City, OK 73112
                                                                   *Service accomplished through Court’s
                                                                   CM/ECF system.

              Attorney for Debtor
              Anita F Sanders
              Anita F Sanders, Inc.
              830 NW 10th
              Oklahoma City, OK 73106-7218
              *Service accomplished through Court’s
              CM/ECF system.


                                                             /s/ Sally E. Garrison
                                                             Sally E. Garrison, OBA # 18709
                                                             Shane M. Riddles-Hill, OBA # 32013
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